                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            Case No. 1:23-cv-00878-TDS-JEP

 DEMOCRACY NORTH CAROLINA, et al.,

                Plaintiffs,

         v.
                                                           DECLARATION OF GENEVA
 ALAN HIRSCH, et al.,                                            RAMIREZ

                Defendants,

 and

 PHILIP E. BERGER, et al.,

                Intervenor-Defendants.

       I, Geneva Ramirez, being competent to testify and having personal knowledge of the

matters herein, state as follows:

       1.      I am an attorney in Steptoe LLP’s Commercial Litigation Practice Group and one

of the attorneys for Plaintiffs Democracy North Carolina, North Carolina Black Alliance, and

League of Women Voters of North Carolina.

       2.      This declaration is made in support of Plaintiffs’ Motion to Compel Response to

Subpoena and to Authorize Alternative Service of Subpoenas. I have personal knowledge of the

facts stated herein and could competently testify to them if called to do so.

       3.      Based on my review of public records, including the North Carolina State Board of

Elections Voter Search tool (available at https://vt.ncsbe.gov/RegLkup/), Cleta Mitchell resides at

139 National Drive, Pinehurst, North Carolina 28374. A true and correct printout of Mitchell’s

profile accessible through the North Carolina State Board of Elections Voter Search tool (current

as of January 31, 2024) is attached hereto as Exhibit A.




       Case 1:23-cv-00878-TDS-JEP Document 56 Filed 01/31/24 Page 1 of 5
       4.      Based on my review of business records available on the North Carolina Secretary

of State’s website, the registered agent of the North Carolina Election Integrity Team (“NCEIT”)

is James Kermit Womack Jr., whose address is 1615 Boone Trail Road, Sanford, North Carolina

27330. A true and correct printout of the North Carolina Secretary of State’s public records related

to NCEIT, as of January 28, 2024, is attached hereto as Exhibit B.

       5.      On December 15, 2023, my colleague, Michael Dockterman, executed subpoenas

for documents to be issued to Cleta Mitchell and NCEIT. True and correct copies of the subpoenas

issued to Mitchell and NCEIT are attached hereto as Exhibit C (“Mitchell Subpoena”) and

Exhibit D (“NCEIT Subpoena”).

       6.      On or about December 15, 2023, I retained Erin de la Cruz of the Black Dog Agency

LLC to attempt service of the Mitchel and NCEIT subpoenas.

       7.       De la Cruz was unable to serve Mitchell. A true and correct copy of the Proof of

Non-Service de la Cruz provided to me describing his attempted service on Mitchell is attached

hereto as Exhibit E.

       8.      De la Cruz was unable to serve NCEIT. A true and correct copy of the Proof of

Non-Service de la Cruz provided to me describing his attempted service on NCEIT is attached

hereto as Exhibit F.

       9.      On or about January 2, 2023, I retained Marcus Lawing, a private investigator

licensed in North Carolina, to attempt service on Mitchell.

       10.     Lawing was unable to serve Mitchell. A true and correct copy of the Proof of Non-

Service describing his attempted service on Mitchell is attached hereto as Exhibit G.

       11.     On or about January 10, 2024, I retained the Moore County Sheriff’s Department

to attempt service on Mitchell.



                                                 2



       Case 1:23-cv-00878-TDS-JEP Document 56 Filed 01/31/24 Page 2 of 5
       12.      The Moore County Sheriff’s Department was unable to serve Mitchell. A true and

correct copy of the Civil Paper Service Attempts I received from the Moore County Sheriff’s

Department describing Officer Delmar E. Lerma’s attempts to serve Mitchell is attached hereto as

Exhibit H.

       13.      On December 22, 2023, I caused a copy of the Mitchell Subpoena to be mailed to

her by USPS Certified Mail, Return Receipt Requested. A true and correct copy of the USPS

Certified Mail Receipt is attached hereto as Exhibit I.

       14.      According to USPS’s records, the Mitchell Subpoena was served on January 2,

2024. A true and correct copy of USPS tracking records corresponding to the Mitchell Subpoena

is attached hereto as Exhibit J.

       15.      To date, Mitchell has not objected to, complied with, or otherwise acknowledged

the subpoena.

       16.      On January 8, 2024, I caused a copy of the NCEIT to be mailed to James Womack,

NCEIT’s registered agent, by USPS Certified Mail, Return Receipt Requested. A true and correct

copy of the USPS Certificate of Mail Receipt and associated tracking records (current as of January

28, 2024) are attached hereto as Exhibit K and Exhibit L, respectively.

       17.      I personally searched the D.C. Bar’s website on January 29, 2024, for the details of

Mitchell’s bar registration. A true and correct copy of the information available on the D.C. Bar’s

website related to Mitchell’s registration is attached hereto as Exhibit M.

       18.      Mitchell’s Member Details on the D.C. Bar’s website show that her email address

is cleta@cletamitchell.com. On January 29, 2024 at 12:40 p.m. central time, I sent a copy of the

Mitchell subpoena to that email address. A true and correct copy of the email I sent to Mitchell,

attaching the Mitchell Subpoena, is attached hereto as Exhibit N.



                                                 3



       Case 1:23-cv-00878-TDS-JEP Document 56 Filed 01/31/24 Page 3 of 5
       19.     On January 29, 2024 at 1:03 p.m. central time, Mitchell responded, “I did not

receive any such documents and have not signed any certified mail receipt for any such

documents.” A true and correct copy of Mitchell’s response is attached hereto as Exhibit O.

       20.     Three minutes later, Mitchell responded again, “And I am not opening this

attachment as I do not wish for you to claim (falsely) that you served it via email, just as you are

claiming (falsely) that you served me via certified mail.” A true and correct copy of Mitchell’s

second response is attached hereto as Exhibit P.

       21.     I responded to Mitchell shortly there after requesting confirmation regarding

whether she would accept service by email. She responded, “No. You need to effect proper service

which you have not done to date. No shortcuts will be agreed to[.]” Ex. P.

       Pursuant to 28 U.S.C. § 1746(2), I declare under penalty of perjury that the foregoing

Declaration is true and correct in substance and in fact to the best of my knowledge and belief.



Dated: January 31, 2024

                                              Geneva Ramirez
                                              STEPTOE LLP

                                              Counsel for Plaintiffs Democracy North Carolina,
                                              North Carolina Black Alliance, and League of
                                              Women Voters of North Carolina




                                                 4



       Case 1:23-cv-00878-TDS-JEP Document 56 Filed 01/31/24 Page 4 of 5
                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the Declaration
of Geneva Ramirez was served on all parties of record through the Court’s electronic filing
system and on the following non-parties by USPS Priority Mail and e-mail on January 31, 2024
as addressed below:

                                        Cleta Mitchell
                                      139 National Drive
                                     Pinehurst, NC 28374
                                   cleta@cletamitchell.com

                           North Carolina Election Integrity Team
                           c/o James Womack Jr. (Registered Agent)
                                    1615 Boone Trail Road
                                      Sanford, NC 27330
                                 james.k.womack@gmail.com


                                             /s/ Jeffrey Loperfido

                                             Jeffrey Loperfido
                                             Southern Coalition for Social Justice

                                             Counsel for Plaintiffs Democracy North Carolina,
                                             North Carolina Black Alliance, and League of
                                             Women Voters of North Carolina




                                               3



      Case 1:23-cv-00878-TDS-JEP Document 56 Filed 01/31/24 Page 5 of 5
